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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

    SUHAIL NAJIM                         )
    ABDULLAH AL SHIMARI et al.,          )
                             Plaintiffs, )
                                         )
                   v.                    )   Case No. 1:08-cv-827 (LMB/JFA)
                                         )
    CACI PREMIER TECHNOLOGY, INC.        )
                            Defendant. )
                                         )
                                         )
                                         )
                                         )




     PLAINTIFFS’ OPPOSITION TO DEFENDANT CACI PREMIER TECHNOLOGY,
    INC.’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
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            Plaintiffs respectfully submit this opposition to the latest motion to dismiss by Defendant

   CACI Premier Technology, Inc. (“CACI”) for lack of subject matter jurisdiction based on three

   recent but irrelevant rulings by the Supreme Court—Egbert v. Boule, 142 S. Ct. 1793 (2022);

   Torres v. Texas Dep’t of Pub. Safety, 142 S. Ct. 2455 (2022); and Biden v. Texas, 142 S. Ct.

   2528 (2022).

                                     PRELIMINARY STATEMENT

            More than fourteen years after Plaintiffs filed their original complaint and more than nine

   years after Plaintiffs filed the current complaint (Dkt No. 177)—and with a motion to dismiss

   already pending before this Court1 and numerous previous motions to dismiss based on subject

   matter jurisdiction having been denied—CACI files yet another motion to dismiss for lack of

   subject matter jurisdiction. There is nothing new in this version of CACI’s argument, let alone

   novel enough to displace this Court’s repeated conclusion—as well as binding Fourth Circuit

   law—that it has subject matter jurisdiction over the claims of torture, war crimes and cruel,

   inhumane and degrading treatment (“CIDT”) under the Alien Tort Statute (codified at 28 U.S.C.

   § 1350, “ATS”). See Al Shimari v. CACI Premier Tech., 300 F. Supp. 3d 758, 781, 789 (E.D.

   Va. 2018).

            In the instant motion, CACI contends that three non-ATS decisions by the Supreme

   Court—a Bivens case (Egbert), a State sovereign immunity case (Torres) and a statutory

   construction case (Biden)—merit overturning the law of the case. They do not.

            The law of the case, as enunciated by this Court in prior rulings, is that “[P]laintiffs have

   appropriately stated a claim under the ATS . . . .” Al Shimari, 300 F. Supp. 3d at 782. Relevant


   1
       See Dkt. No. 1331.

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   to CACI’s current motion, “applying the ATS [here] represents the constitutional exercise of

   Congress’s inherent powers to regulate the conduct of war.” Id. at 787. A party seeking to

   overturn the law of the case based on intervening case law must show that a “controlling

   authority has made a contrary decision of law applicable to the issue presented . . . .” Peters v.

   School Bd. of City of Va. Beach, 2007 WL 295618, at *4 (E.D. Va. Jan. 26, 2007).

          CACI has failed to satisfy that burden. It is time for this long-pending case to go to trial.

   CACI’s increasingly desperate and meritless gambits designed to prevent that inevitable

   reckoning should be rejected.

                                            BACKGROUND2

          If the long history of this case establishes one thing, it is that this Court has ruled

   repeatedly that it has subject matter jurisdiction over ATS claims stemming from harm suffered

   as a result of a notorious and widely condemned U.S. contractor-soldier conspiracy to torture

   Iraqi civilian detainees at the U.S.-run Abu Ghraib prison following the 2003 invasion and

   ensuing armed conflict in Iraq.

          In Al Shimari v. CACI Premier Technology, Inc. (“Al Shimari III”), the Fourth Circuit

   reversed a prior ruling of this Court and found that Plaintiffs’ ATS claims were a permissible

   application of the ATS. 758 F.3d 516 (4th Cir. 2014). Two years later, the Fourth Circuit

   rejected CACI’s attempt to have the case dismissed under the political question doctrine, holding

   contractors’ unlawful acts are not shielded from judicial review and that violations of law—such




   2
    The Court is familiar with the long history of this case. Thus, this section of the brief focuses
   only on issues that are relevant to the present motion. For a detailed factual background,
   Plaintiffs refer the Court to their prior submissions. (See Dkt. Nos. 1090 at 2-17; 639 at 3-16;
   639-1; 639-2; 528; and 527 at 2-15.)

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   as acts of torture—fell outside protections that might render sensitive military judgments non-

   justiciable. Al Shimari v. CACI Premier Technology, Inc., 840 F.3d 147, 151 (4th Cir. 2016)

   (“Al Shimari IV”).

          Subsequently, in 2017, this Court laid out the proper standard under the leading ATS

   case, Sosa v. Alvarez-Machain, 542 U.S. 692, 712 (2004), for evaluating the propriety of ATS

   claims: whether the claim alleges a violation “of a norm that is specific, universal, and

   obligatory” and comparable to 18th century paradigms. See Al Shimari v. CACI Premier Tech.,

   263 F. Supp. 3d 595, 599 (E.D. Va. 2017) (citing Sosa, 542 U.S. at 732). Shortly thereafter,

   CACI filed another motion to dismiss. (Dkt. No. 626.) On February 21, 2018, this Court

   granted in part, and denied in part, that motion. See Al Shimari v. CACI Premier Tech, 300 F.

   Supp. 3d 758 (E.D. Va. 2018). In denying CACI’s motion to dismiss the conspiracy and aiding

   and abetting claims (which CACI again seeks to dismiss this time around), this Court relied on

   the Sosa standard. First, the Court concluded that “[P]laintiffs have appropriately stated a claim

   under the ATS [and because they state a violation of settled international law] the political

   question doctrine is inapplicable.” Id. at 782. Second, the Court rejected CACI’s argument that

   “the Constitution’s allocation of war powers precludes ATS claims arising out of the United

   States’ conduct of war . . . .” Id. at 787. Notably, CACI’s war powers argument—advanced

   under a “constitutional preemption” frame—echoed a similar “power to wage war” argument

   presented and rejected nearly a decade earlier, that time advanced under the political question

   doctrine. See Al Shimari v. CACI Premier Tech., Inc., 657 F. Supp. 2d 700, 713 (E.D. Va. 2009).

          Undeterred, CACI filed another motion to dismiss in 2018. This time, CACI argued that

   another Supreme Court case, Jesner v. Arab Bank, plc, 138 S. Ct. 1386 (2018), which barred



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   ATS claims against foreign corporations, should be extended to bar suits against domestic

   corporations. (Dkt. No. 812.) The Court denied CACI’s motion. (Dkt. No. 860.)

          In early 2019, CACI continued its pattern of grasping at unrelated Supreme Court

   precedent by filing another motion to dismiss. This time, CACI argued that Al Shimari III was

   no longer good law in light of the Supreme Court’s decision—three years earlier (and before

   Jesner)—in RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090 (2016). CACI also filed

   a motion for summary judgment. (Dkt. No. 1033.) The Court denied both of these motions.

   (Dkt. No. 1143.3)

          In the instant motion, CACI recasts arguments already rejected by this Court, contending

   that intervening, but unrelated, Supreme Court law implies that “the ATS does not permit courts

   to recognize and authorize claims under the ATS that arise out of the United States’ prosecution

   of war.” (See Dkt. No. 1368 (“Def.’s Br.”) at 1; compare with Dkt. No. 627, CACI Brief in

   Support of 2018 Mot. to Dismiss, at 36 (“[The] Constitution’s allocation of war powers

   precludes ATS claims arising out of the United States’ conduct of war.”).) As demonstrated

   below, these arguments are as baseless as the prior arguments raised by CACI and rejected by

   the Court.

                                            ARGUMENT

          CACI’s latest motion to dismiss should be denied for two reasons. First, this Court has

   already rejected CACI’s argument, relying on the applicable Supreme Court precedent in Sosa.


   3
     In July 2021, CACI filed a separate motion to dismiss based on the Supreme Court’s decision
   in Nestle USA, Inc. v. Doe, 141 S. Ct. 1931 (2021) (see Dkt. No. 1331), which Plaintiffs
   opposed. (See Dkt No. 1340.) That motion is currently pending before this Court. Plaintiffs
   respectfully incorporate the arguments in their opposition to that motion, which are relevant to
   the disposition of CACI’s most recent motion, here.

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   See Al Shimari, 300 F. Supp. 3d at 782; 787. Second, the cases cited by CACI—Egbert, Torres,

   and Biden—do not provide a basis for calling into question either Sosa or this Court’s prior

   decisions.

   I.     THE LAW OF THE CASE IS THAT THE COURT HAS SUBJECT MATTER
          JURISDICTION

          The “law of the case” doctrine “provides that ‘when a court decides upon a rule of law,

   that decision should continue to govern the same issues in subsequent stages in the same case.’”

   United States v. Lentz, 384 F. Supp. 2d 934, 938 (E.D. Va. 2005) (quoting Christianson v. Colt

   Indus. Operating Corp., 486 U.S. 800, 815-16 (1988)). One exception to this doctrine is when

   “controlling authority has since made a contrary decision of law applicable to the issue.” TFWS,

   Inc. v. Franchot, 572 F. 3d 186, 191 (4th Cir. 2009). Applying the doctrine to the determinations

   already made by this Court is important, given that the doctrine “promotes the finality and

   efficiency of the judicial process by protecting against the agitation of settled issues.”

   Christianson, 486 U.S. at 816 (citations and quotations omitted).

          CACI’s motion comes down to a singular contention: that “the ATS does not permit

   courts to recognize and authorize claims under the ATS that arise out of the United States’

   prosecution of war.” (Def.’s Br., at 1.) But CACI has made this argument before. And it has

   been rejected by this Court.

          CACI previously argued that the “Constitution’s allocation of war powers precludes ATS

   claims arising out of the United States’ conduct of war,” as “the Constitution expressly commits

   this Nation’s foreign policy and war powers to the federal government.” Al Shimari, 300 F.

   Supp. 3d at 787. CACI contended that the “Constitution does not allow international law, or the




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   law of any foreign sovereign, to govern the prosecution of war by the United States . . . [n]or

   does the Constitution contemplate a judicial role in this area.” Id.

          This Court denied CACI’s argument in full. The Court explained that CACI’s argument

   “fundamentally misunderstands the nature of an ATS claim,” because “the ATS embodies

   Congress’s considered determination that there should be a cause of action in federal district

   court for violations of the laws of nations”—claims for which the Court concluded Plaintiffs

   adequately stated. Id. In finding that Plaintiffs adequately stated such claims, the Court relied

   on its prior recitation of the Sosa standard: that “plaintiffs’ claims are only cognizable under the

   ATS to the extent that they represent ‘violations of international law’ norms that are ‘specific,

   universal, and obligatory.’” See id. at 777 (citing Al Shimari, 263 F. Supp. 3d at 599 (quoting

   Sosa, 542 U.S. at 732)); see also id. at 788 (“[T]he Court has already determined that the

   international norms prohibiting torture, CIDT, and war crimes were sufficiently specific,

   universal, and obligatory at the time of the alleged abuse to allow plaintiffs to maintain their

   ATS claims.”) (citation omitted). As a result, “applying the ATS in this context represents the

   constitutional exercise of Congress’s inherent powers to regulate the conduct of war.” Id. at 787.

          And, to the extent that CACI’s argument is, yet again, a warmed over version of its

   political question objection to this case, the Fourth Circuit has conclusively rejected it, finding

   that the political question doctrine does not apply because “the military cannot lawfully exercise

   its authority by directing a contractor to engage in unlawful activity,” Al Shimari IV, 840 F.3d at

   157; that “the commission of unlawful acts is not based on ‘military expertise and judgment,’

   and is not a function committed to a coordinate branch of government,” id. at 158; and that

   “courts are competent to engage in the traditional juridical exercise of determining whether

   particular conduct complied with applicable law,” be it a statute or treaty. Id. at 158, 159 (citing
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   Zivotofsky v. Clinton, 132 S. Ct. 1421, 1430 (2012). Moreover, as this Court previously

   recognized, “the United States is currently a party in this lawsuit and abstained from filing any

   brief in support of CACI’s suggestion of lack of subject matter jurisdiction, which indicates that

   the United states does not believe that there are significant foreign-relations problems implicated

   by allowing plaintiffs’ claims to proceed.” (Dkt. No. 859 at 10.)

          Indeed, in rejecting CACI’s identical separation-of-powers arguments in its post-Jesner

   motion to dismiss, this Court already relied on pre-existing law of the case, which continues to

   govern CACI’s third attempt to dismiss based on separation of powers arguments. (See id. at 8

   (“Accordingly, the Court has already determined, and it is the law of the case, that adjudication

   of plaintiffs’ claims does not impermissibly infringe on the political branches.”).) Thus, the

   Fourth Circuit’s determination as well as the law of this case demonstrate that the Court has

   subject matter jurisdiction over ATS claims related to the United States’ conduct of war.

   II.    EGBERT, TORRES, AND BIDEN DO NOT REQUIRE ALTERATION OF THIS
          COURT’S PRIOR DECISIONS

          CACI’s arguments that Egbert, Torres and Biden strip this Court of its subject matter

   jurisdiction rely on tenuous inferences that do not merit CACI’s proposed dramatic departure

   from the law of the case. As an initial matter, CACI’s framing of the issue demonstrates its

   reliance on improper inferences. CACI concedes that this Court must find that these three

   Supreme Court cases (1) “apply beyond their specific contexts” and (2) “adopt principles that bar

   recognition of the claims in this action under the ATS.” (Def.’s Br. at 2.) Plaintiffs do not

   dispute CACI’s assertion that “[i]t is . . . beyond the power of an inferior court to disregard

   Supreme Court decisions.” (Id.) However, CACI is asking this Court to do something

   completely different: to “apply [Supreme Court cases] beyond” the issues presented in those


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   cases and dramatically alter this Court’s law of the case, which relied on the Supreme Court’s

   reasoning in Sosa and its political question doctrine precedents. The Fourth Circuit has declined

   such invitations in the past. See, e.g., TFWS, Inc, 572 F.3d at 191 (declining to overturn the law

   of the case and noting that “the Supreme Court did not overrule, or even question, any Supreme

   Court precedent on which we relied in TFWS I . . . The [Supreme] Court has also clarified that it

   “does not normally overturn, or [] dramatically limit, earlier authority sub silentio.”). This Court

   should do the same. But even the cases that CACI cites are inapposite.

          A.      Egbert v. Boule, 142 S. Ct. 1793 (2022)

          Reprising the argument it made—and this Court rejected—in its post Jesner briefing (see

   Dkt No. 859), CACI contends that Egbert reinforces the Ziglar/Jesner test, and therefore requires

   dismissal of ATS claims if there is “even a single sound reason [for the judiciary] to defer to

   Congress” in creating a private remedy. (Def.’s Br. at 15-16.) Egbert does no such thing.

          Egbert was a Bivens, not an ATS, case. The Court declined to extend Bivens to the

   respondent’s First and Fourth Amendment claims. In rejecting judicially implied causes of

   action under the First and Fourth Amendment, Egbert, 142 S. Ct. at 1804, 1807, the Court

   merely applied the admonition set forth in Ziglar that creating Bivens-style causes of action is a

   legislative task. See id. at 1805 (explaining that the Bivens inquiry comes down to “only one

   question: whether there is any rational reason (even one) to think that Congress is better suited to

   ‘weigh the costs and benefits of allowing a damages action to proceed’”) (citing Ziglar, 137 S.

   Ct. at 1858). The Court rejected respondent’s Fourth Amendment Bivens claim because

   “Congress is better positioned to create remedies in the border-security context, and the




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   Government has already provided alternative remedies that protect” people like the respondent.

   Id. at 1804.4

            An ATS claim is a wholly different construct from a Bivens claim. Egbert—and other

   Bivens-related precedent—presupposes that there is no Congressional action guiding the

   judiciary. Here, there is—and has been since 1789: the ATS, which “embodies Congress’s

   considered determination that there should be a cause of action in federal district court for

   violations of the law of nations,” even as it relates to “the conduct of war.” Al Shimari, 300 F.

   Supp. 3d at 787. Consistent with Sosa, this Court “has already determined that the international

   norms prohibiting torture, CIDT, and war crimes were sufficiently specific, universal, and

   obligatory at the time of the alleged abuse to allow plaintiffs to maintain their ATS claims.” Id.

   at 788 (citing Al Shimari, 263 F. Supp. 3d 595). Thus, CACI has the separation of powers

   concerns precisely backward in this case. Unlike a judicially constructed Bivens remedy which

   is unmoored from congressional policy, identifying a cause of action under the ATS in

   accordance with Sosa advances the congressional purposes behind the statute’s enactment: i.e.,

   “that the failure to provide an adequate remedy to an aggrieved alien could cause significant

   international tension with that alien’s country or even lead that country to attempt to hold the

   United States or the American citizen responsible.” (Dkt. No. 859 at 9); see also Jesner, 138

   S.Ct. at 1397 (explaining that Congress enacted the ATS to “ensur[e] the availability of a federal

   forum where the failure to provide one might cause another nation to hold the United States

   responsible for an injury to a foreign citizen”). 5


   4
       The Court also denied respondent’s First Amendment Bivens claim. See id. at 1811.
   5
    CACI makes much of the what it presents as the Court in Egbert elevating a three-Justice
   observation in Nestle—that courts should refrain from creating private damages remedies when
                                                   9
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            Egbert, Jesner and Ziglar do not overturn—or even question—Sosa, which this Court

   relied upon in determining that the proper standard to evaluate ATS claims is whether the claims

   are “‘violations of international law’ norms that are ‘specific, universal, and obligatory.’” See Al

   Shimari, 300 F. Supp. 3d at 777 (citing Al Shimari, 263 F. Supp. 3d at 599 (quoting Sosa, 542

   U.S. at 732)); see also Jesner, 138 S. Ct. at 1409 (describing the Sosa standard).

          Fourth, CACI reprises another of its age-old arguments that, because there are other

   damages remedies related to the United States’ conduct of war such as the Foreign Claims Act

   (“FCA”), there can be no ATS claim here. (See Def. Br. at 20-21); Egbert, at 1806-07. Again,

   Egbert presupposes a situation in which the judiciary is asked to create its own damages remedy

   without any statutory grounding. See Egbert, 142 S. Ct. at 1807 (“[T]he courts cannot second-

   guess [Congress and the Executive’s remedial processes] by superimposing a Bivens remedy.”)

   Since “[P]laintiffs’ ATS claims are grounded in federal statute . . . the claims cannot be so easily

   displaced by other federal statutes, which are entitled to no more respect than the ATS.” Al

   Shimari, 300 F. Supp. at 791. Because Congress created both the ATS and the FCA, those

   remedies are intended to operate in parallel, as applicable. Neither displaces the other.




   there is “even a single sound reason to defer to Congress”— to a holding. (See Def.’s Br. at 9; 15
   (citing Egbert, 142 S. Ct. at 1802-3).) Even if CACI is correct that this observation (which itself
   relies on a prior Supreme Court Bivens case) is now a holding in the Bivens context, that
   statement did not receive enough votes to become controlling law in the ATS context. There
   could be many reasons why—one of which might be the different contexts of ATS and Bivens
   claims described above. Regardless, it is not up to lower courts to declare that the Supreme
   Court has, sub silentio, overruled one of its prior decisions. See TFWS Inc., 572 F.3d at 192
   (“The Supreme Court has repeatedly instructed that only the Supreme Court itself may exercise
   the prerogative of determining whether any of its own prior holdings have been overturned. The
   Court has also clarified that it does not normally overturn, or dramatically limit, earlier authority
   sub silentio.”) (cleaned up).

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          B.      Torres v. Texas Dep’t of Pub. Safety, 142 S. Ct. 2455 (2022)

          Moving farther afield, CACI conjectures that the “upshot of Torres” is that the

   constitutional design requires “the federal government to have sole and exclusive control over

   the exercise of military power.” (Def.’s Br. at 12.) The “upshot” of Torres, however, is about

   federalism, not separation of powers, and, if anything, supports the congressionally-enacted

   cause of action at issue here. Specifically, Torres (1) speaks to the states’ inability to interfere

   with Congress’s ability to raise and support the armed forces, and (2) is entirely consistent with

   this Court’s jurisdictional findings that, given that “the ATS represents Congress’s

   determination, in accordance with its war powers, . . . victims of violations of international law

   should have a remedy” under the ATS. Al Shimari, 300 F. Supp. 3d at 788 (emphasis added).

          In Torres, the State of Texas argued it had sovereign immunity over a suit brought by an

   individual claiming that it violated federal reemployment protections for returning veterans. The

   Court denied Texas’s assertion of sovereign immunity, holding that when entering the Union,

   “the States waived their immunity under Congress’ Article I power ‘[t]o raise and support

   Armies’ and ‘provide and maintain a Navy.’” Torres, 142 S. Ct. at 2466 (citations omitted). The

   Court’s decision was informed by “[a]n unbroken line of precedents supporting the . . .

   conclusion [that] Congress may legislate at the expense of traditional state sovereignty to raise

   and support the Armed Forces.” Id. at 2465. Unlike concerns regarding federal supremacy over

   the states, here Congress has specifically authorized the federal judiciary to enforce the ATS, in a

   manner that “represents the constitutional exercise of Congress’s inherent powers to regulate the

   conduct of war.” Al Shimari, 300 F. Supp. at 787.




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          C.       Biden v. Texas, 142 S. Ct. 2528 (2022)

          Lastly, Biden—which involves questions related to final agency action under the

   Administrative Procedure Act and executive discretion under the Immigration and Nationality

   Act—has nothing to do with the Court’s subject matter jurisdiction in this case. CACI’s reliance

   on the run-of-the mill statement about “unwarranted judicial interference in the conduct of

   foreign policy,” (see Def.’s Br. at 16 (quoting Biden, 142 S. Ct. at 2543)), is misplaced, as this

   Court and the Fourth Circuit have repeatedly ruled that the tort claims in this case are properly

   stated under the ATS notwithstanding CACI’s broken-record assertions that they would

   impermissibly interfere with the executive’s war-making powers.

          CACI fails to point to anything in Biden that alters this Court’s past reliance on Sosa or

   its prior finding of jurisdiction. And that is because there is none—hardly surprising given that

   Biden is a case of statutory construction.

                                            CONCLUSION

          For all of the foregoing reasons, CACI’s motion to dismiss should be denied.


                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2022, I electronically filed Plaintiffs’ Opposition to
   Defendant’s Motion to Dismiss for Lack of Subject Matter Jurisdiction through the CM/ECF
   system, which sends notification to counsel for Defendants.



                                                       /s/ Cary Citronberg
                                                    Cary Citronberg
